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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION




GUZMAN GONZALEZ,
a/k/a RICARDO MARTINEZ,

            Petitioner,

v.                                                CASE NO. 4:05cv88-RH/WCS

IMMIGRATION AND CUSTOMS
ENFORCEMENT DISTRICT, et al.,

            Respondents.

___________________________________/


                 ORDER DISMISSING PETITION AS MOOT


      This matter is before the court on the Magistrate Judge’s Report and

Recommendation (document 4), to which no objections have been filed. Upon

consideration,

      IT IS ORDERED:

      The Report and Recommendation is ACCEPTED and adopted as the
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opinion of the court. The clerk shall enter judgment stating, “The petition is

dismissed as moot.” The clerk shall close the file.

         SO ORDERED this 9th day of May, 2005.

                                              s/Robert L. Hinkle
                                              Chief United States District Judge




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